Case 1:07-cv-00652-RMC Document 1-1 Filed 04/09/07 Pag@ I pf 24

AS-44
v.1/05 DC)

CIVIL COVER SHEET

lo TQ
Brn

7

 

I (a) PLAINTIFFS

Joseph P. Ludvigson

DEFENDANTS

CIN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES. USE. THF. LOCATION OF THE

 

c/o General Delivery
Effingham, Illinois

(€) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBE!
Joseph P. Ludvigson, without representation

(217-347-7404)

Case: 1:07-cv-0065

 

If. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

O1 US. Government

| Plaintiff

U.S.
Defi

overmment 0 4 Diversity

dant

 

03 Federal Question
(U.S. Government Not a Party)

(Indicate Citizenship of Parties
in item TIT)

 

United States

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF 832 COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(EXCEPT IN U.S. PLAINTIFF CASES)

2

Assigned To : Collyer, Rosemary M.
Assign. Date : 4/9/2007 a.
Description: Ludvigson v. USA? *~ ‘|

THT CT a ccesiviceeen Warn etnias cass a bs

FOR PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR GI C chsré ONLY!
PTF DFT PTF DFT

Citizen of this State oO. o1 Incorporated or Principal Place on4 o4
of Business in This State

Citizen of Another State 0 2 a2 Incorporated and Principal Place | 25 as
of Business in Another State

Citizen or Subject of a 03 03

Foreign Country Foreign Nation a6 06

 

 

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place a X in one category, A-N, that best represents your cause of action and one in a corresponding Nature of Suit)

 

O A. Antitrust

O 410 Antitrust

 

OB. Personal Injury/
Malpractice

B 310 Airplane

0 315 Airplane Product Liability
0 320 Assault, Libel & Slander

0 330 Federal Employers Liability
0 340 Marine

0 345 Marine Product Liability

0 350 Motor Vehicle

0 355 Motor Vehicle Product Liability
0 360 Other Personal Injury

0 362 Medical Malpractice

0 365 Product Liability

0 368 Asbestos Product Liability

 

0 C. Administrative Agency

Review
0151 Medicare Act

Social Security:

0 861 BEA ((1395")

0 862 Black Lung (923)

0 863 DIWC/DIWW (405(g)
0 864 SSID Title XVI

1 865 RSI (405(2)

Other Statutes

0 891 Agricultural Acts

0 892 Economic Stabilization Act
0D 993 Environmental Matters

0 894 Energy Allocation Act

11 890 Other Statutery Actions (If

 

OD. Temporary Restraining
Order/Préliminary
Injuncti

 

Any nature of suit fro:
be selected for this cat
assignment.

any category may
‘ory af case

*df Antitrust, then A governs)*

 

f- v
OF. General Civil (Other) GR AF, Pro Se General Civil

 

Real Property
O 210 Land Condemnation

O 220 Foreclosure

O 230 Rent, Lease & Ejectment
O 240 Torts to Land

O 245 Tort Product Liability

Q 290 All Other Real Property

Personal Property
O 370 Other Fraud

O 371 Truth in Lending
0 380 Other Personal Property Damage
O 385 Property Damage Product Liability

 

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Prisoner Petitions
DO 535 Death Penalty

O §40 Mandamus & Other

O 550 Civil Rights
O 555 Prison Condition

Property Rights
0 820 Copyrights

O 830 Patent
O 840 Trademark

Federal Tax Suits

O 870 Taxes (US plaintiff or

defendant

O 871 IRS-Third Party 26

USC 7609

Ls Administrative Agency is Involved)
B; te Forfeiture/Penalty
O 422 Appeal 28 USC 158 O 610 Agriculture
O 423 Withdrawal 28 USC 157 C 620 Other Food &Drug

Qo

Property 21 USC 881
630 Liquor Laws
640 RR & Truck
650 Airline Regs
660 Occupational
Safety/Health
OD 690 Other

ooao

Other Statutes

D 400 State Reapportion
0 430 Banks & Banking
O 450 Commerce/AICC
Rates/etc.

0 460 Deportation

 

625 Drug Related Seizure of

int

D 470 Racketeer Influenced & Corrupt
Organizatioi

O 480 Consumer Credit

O 490 Cable/Satel§ite TV

0 810 Selective Sefvice

O 850 Securities/CGommodities/

Exchange
O $75 Customer Challenge 12 USC
3410

0 900 Appeal of fqe determination
under equa] access to Justice

Sd Constitutiopality of State

| Statutes

X 890) Other Statutory Actions (if not
administrative agency review or
Privacy Act

 

 

 

 
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OG. Habeas Corpus/
2255

0 530 Habeas Corpus-General
O §10 Motion/Vacate Sentence

OH. Employment
Discrimination
D 442 Civil Rights-Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability
age, religion, retaliation)

*(If pro se, select this deck)*

OF. FOIA/PRIVACY
ACT

0 895 Freedom of Information Act
O 890 Other Statutory Actions
(if Privacy Act)

“(If pro se, select this deck)*

 

OJ. Student Loan

01152 Recovery of Defaulted Student
Loans (excluding veterans)

 

 

 

 

 

 

OK. Labor/ERISA OL. Other Civil Rights OM. Contract ON. Three-Judge Court
on- -
(n employment) (non employment) 0110 Insurance 0 441 Civil Rights-Voting (if Voting
0 710 Fair Labor Standards Act 0 441 Voting (if not Voting Rights
. 0120 Marine Rights Act)
0 720 Labor/Memt. Relations Act) 01130 Miller Act
0 730 Labor/Mgmt. Reporting & 0 443 Housing/Accommodations
. 1140 Negotiable Instrument
Disclosure Act 0444 Welfare 11150 Recovery of Overpayment &
0 740 Labor Railway Act 11440 Other Civil Rights Enforcerncnt of Judataent
0790 Other Labor Litigation 0445 American w/Disabilities- €
. 0153 Recovery of Overpayment of
O 791 Empl. Ret. Inc. Security Act Employment ,
446 Americans w/Disabllities Veteran's Benefits
Othe, . “ 01160 Stockholder’s Suits
er 0190 Other Contracts
0195 Contract Product Liability
0196 Franchise
—
. GIN
M1 Original O 2 Removed O3 Remanded from (1 4 Reinstated O 5 Transferred from Cl Mult district O 7Appeal to
Prgceeding from State Appellate Court or Reopened another district Litigation District Judge
Court from Mag. Judge

(specify)

 

"I. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)

ice.

USC 7433 Civil Damages for certain unauthorized collection actions

VII. REQUESTED IN
COMPLAINT q

VIII. RELATED CASE(S)
IF ANY

(See instruction)

CHECK IF THIS IS A CLASS
ACTION UNDER F.R.C.P. 23” 7S
\\

DATE Yfpri / 20 U AS TURE OF ATTORNEY OF RECORD

14/6

Ove Xn

DEMAND §

oes DF

Check YES only fin in onuplain
JURY DEMAND: Xy ONO

NN”

It yes, please complete related case form.

Pegth [labo

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authonity for Civil Cover Sheet

JIC

The JS-44 cilil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States nm September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet, Consequently a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. Listed below are tips
for completing the civil cover shect. These tips coincide with the Roman Numerals on the Cover Sheet.

 

BE COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintitt is resident of
Washington, D.C. 88888 if plaintiff is resident of the United States but not of Washington, D.C., and 99999 if plaintiff is outside the United States.

NY. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction under Section
I

Iv. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best represents the

primary cause of action found in your complaint, You may select only one category. You must also select one corresponding nature of suit found under
the category of case.

VI. CAUSE OF ACTION: Cite the US Civil Statute under which you are filing and write a brief statement of the primary cause.

Vil. RELATED CASES, IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from the Clerk’s
Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
